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                         IN THE UNITED STATES DISTRICT COURT

                      FOR THE WESTERN DISTRICT OF LOUISIANA


DANIEL KAESEMEYER,                                   )
                                                     )
         Plaintiff                                   )       Civil Action No. 17-01520
                                                     )
    v.                                               )       HON. ROBERT R. SUMMERHAYS
                                                     )       MAG. JUDGE WHITEHURST
LEGEND MINING USA, INC., and                         )
LEGEND MINING, INC.                                  )       COLLECTIVE ACTION
                                                     )
         Defendant.                                  )


                         JOINT MOTION TO ACCEPT SETTLEMENT

         Plaintiff DANIEL KAESEMEYER, on his own behalf and on behalf of the members of the

collective, and Defendants LEGEND MINING USA, INC. and LEGEND MINING, INC., (collectively,

“Legend Mining” or “Defendants”) hereby jointly file this motion with respect to the

settlement and dismissal of these claims. As set forth below, the Parties submit that the

settlement is a fair and reasonable resolution of bona fide disputes among the Parties, and

settlement should be approved.

                FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         Legend Mining, Inc. is a Canadian corporation involved in the mining industry.

Legend Mining USA, Inc. is a Nevada corporation that acts as its American subsidiary. 1

Defendants allege that Legend Mining USA, Inc. is the true employer in this case, and that

Legend Mining, Inc. was not a proper party to this suit.

         In 2017, Defendants began a project at the Weeks Island salt mine located in Iberia

Parish, Louisiana. (Complaint, Dkt. #1, ¶ 13). Plaintiff Kaesemeyer, and the other members

1        At some point after this lawsuit was filed, Legend Mining USA, Inc. ceased operations, and the
         corporation has been formally dissolved.
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of the collective, accepted offers of employment to work on this project.

       At issue in this case is the Defendants’ method of paying overtime. Defendants paid

the Plaintiffs a “regular hourly rate” plus an hourly “set site bonus.” (Dkt. #1, ¶ 14). Overtime

pay was calculated solely on the “regular hourly rate” and did not take into account the “set

site bonus.” (Id., ¶ 14-15). Plaintiffs contended that this violated the Fair Labor Standards

Act’s regular rate regulations, see 29 C.F.R. § 778.108 et seq., insofar as all overtime payments

should have included the set site bonus in the time-and-a-half calculation. Defendants

contended that the bonus was excludable from the regular rate, see, e.g., 29 C.F.R. § 778.208

et seq. (listing those bonuses and payments that may be excluded from the regular rate).

       The Complaint, as initially filed, also included a claim that Defendants had failed to pay

Mr. Kaesemeyer his paycheck. (See Dkt. #1, ¶¶ 19-22). However, immediately after this

lawsuit was filed, Defendants tendered Mr. Kaesemeyer the unpaid wages in full, and the only

remaining disputed issue related to the overtime pay.

       On January 17, 2018, Plaintiffs moved for conditional certification. (Dkt. #10).

Certification was initially denied. (Dkt. #18). The parties exchanged written discovery, and

Plaintiff filed a renewed motion to certify, which was granted. (Dkt. #39). Court-authorized

notice was sent to the class, and ten additional Plaintiffs joined this action during the opt-in

period. (Dkt. #43). Two additional Plaintiffs filed untimely opt-in forms, and were granted

permission to join the case over Defendants’ objection. (Dkt. #45).

       The Parties then exchanged written discovery, which included production of all pay and

time records for the Plaintiffs in this action. After weeks of negotiation, the Parties ultimately

agreed on a settlement which provided each Plaintiff with 100% of the unpaid overtime which

he was allegedly owed, plus 25% of the potential liquidated damages penalties. 2 Settlement

2      See 29 U.S.C. § 260 (providing for award of liquidated damages to successful FLSA claimants,
       subject to a “good faith” defense by the Defendant).
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was reached in April 2019. Individual Settlement Agreement and Releases were issued to

each Plaintiff. Each Plaintiff signed his respective release, returned the release, and

Defendants issued payments in accordance with the Agreement. The Plaintiffs have all since

received and negotiated their checks.

                                       LEGAL STANDARD

       At the outset, the Parties contend that under Fifth Circuit law, no formal settlement

approval order is necessary to effectuate this settlement. The Fifth Circuit has held that in

FLSA cases where parties, both represented by counsel, reach “a settlement of a bona fide

dispute, which [the workers] accepted and were compensated for,” court approval of the

settlement is not necessary. Martin v. Spring Break ‘83 Prod., 688 F. 3d 247, 257 (5th Cir.

2012).3 Nevertheless, this memorandum has been filed at the Court’s request.

       With respect to court approval of FLSA settlements, the Eleventh Circuit has held:

              Settlements may be permissible in the context of a suit brought by
              employees under the FLSA for back wages because initiation of the
              action by the employees provides some assurance of an adversarial
              context. The employees are likely to be represented by an attorney
              who can protect their rights under the statute. Thus, when the
              Parties submit a settlement to the court for approval, the settlement
              is more likely to reflect a reasonable compromise of disputed issues
              than a mere waiver of statutory rights brought by an employer’s
              overreaching. If a settlement in an employee FLSA suit does reflect
              a reasonable compromise over issues, such as FLSA coverage or
              computation of back wages that are actually in dispute, we allow the
              district court to approve the settlement in order to promote the
              policy of encouraging settlement of litigation.4

       Here, the primary claim revolves around the calculation of the “regular rate,” and

whether the Defendants correctly calculated overtime by excluding certain site bonuses from

3      See Steele v. Staffmark Inv., LLC, 172 F. Supp. 3d 1024, 1028 (W.D. Tenn. 2016) (Recognizing
       that “The Fifth Circuit... held that there is no need for court-approval of a privately-entered
       FLSA settlement.”) (citing Martin v. Spring Break 83, supra).

4      Lynn's Food Stores, Inc. v. United States, 679 F.2d 1350, 1354 (11th Cir. 1982).

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that calculation. Importantly, there is a strong presumption in favor of judicial approval of a

joint proposed settlement agreement in an FLSA action. 5            After a significant amount of

discovery and disclosures, the Parties engaged in arm’s-length negotiations to reach a

proposed settlement agreement that reflects a reasonable compromise over the amount of

disputed overtime wages.

A.     THE PROPOSED SETTLEMENT RESOLVES A BONA FIDE DISPUTE

       On a motion to approve an FLSA settlement, “the Court must keep in mind the 'strong

presumption' in favor of finding a settlement fair, and remain aware, as the parties must also

be, that a settlement is a compromise, a yielding of the highest hopes in exchange for certainty

and resolution.”6 Although the court must evaluate the proposed settlement to ensure that

there exists a bona fide dispute as to the plaintiffs’ FLSA claims, this is a relatively light

burden, as “the settlement hearing must not be turned into a trial or a rehearsal of the trial.” 7

       Numerous matters are currently in dispute between the Parties, including whether the

“set site bonus” was legally required to be included as part of the regular rate, whether it

qualified as an excludable bonus pursuant to 29 C.F.R. § 778.208 et seq., whether Defendant

Legend Mining, Inc. qualified as an “employer” under the FLSA, and whether Defendants

acted in “good faith” such that liquidated damages would not be awarded.                 The Parties

recognize that these issues are disputed and would necessarily be decided via trial, and via a

likely appeal.

       The parties further recognize that settlement would be beneficial because, in absolute

5      See Camp v. The Progressive Corp., 2004 U.S. Dist. LEXIS 19172, at *14-18 (E.D. La.
       September 23, 2004) (Wilkinson, J.) (citing Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir.
       1977)); see also Quintanilla v. A&R Demolition, Inc., 2008 U.S. Dist. LEXIS 37449, at *6 (S.D.
       Tex. May 7, 2008) (“If a settlement in an employee FLSA suit does reflect a reasonable
       compromise over issues, the court may approve the settlement in order to promote the policy
       of encouraging settlement of litigation.”) (internal citations and references omitted).
6      Collins v. Sanderson Farms, Inc., 568 F. Supp. 2d 714, 720 (E.D. La. 2008) (citations omitted).
7      Id. (citing Brask v. Heartland Auto., 2006 U.S. Dist. LEXIS 62313 (D. Minn. Aug. 15, 2006)).
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terms, the amount of money at issue here is relatively constrained. The temporal scope of the

project was limited from fall of 2017 through early 2018, and several of the Plaintiffs

(including named Plaintiff Kaesemeyer) did not work during the entire time period of the

project. The allocation of settlement funds to opt-in Plaintiffs is based on each one’s total

compensation, which means that employees who worked throughout the project has received

more money than those who worked just a few days.

       Counsel for the Parties have vigorously represented the positions of their respective

clients over these disputes.     The parties have engaged in significant written discovery,

including the production of all time and pay records for the members of the collective.         There

was also significant motion practice including an opposed motion for certification, which was

first denied and later granted on rehearing, as well as a motion to file late opt in notices which

was likewise disputed. Plaintiffs are also well aware of the potential difficulty in enforcing any

ultimate judgment, as the primary assets of the Defendants are located in Canada. Settlement

was reached after numerous back-and-forth telephone conferences and emails between

counsel, and Plaintiff Kaesemeyer was actively involved as collective representative and

personally approved the proposed settlement. Each side has substantial arguments in support

of their factual and legal positions and they wish to enter into this settlement agreement to

resolve and compromise these bona fide disputes without the need for a trial.

       B.     THE PROPOSED SETTLEMENT IS THE PRODUCT OF ARMS-LENGTH
              NEGOTIATIONS THAT OCCURRED AFTER SUBSTANTIAL DISCOVERY

       Courts also take into account whether the parties engaged in “extensive discovery

[indicating] a good understanding of the strengths and weaknesses of their respective cases.” 8

Although formal discovery is not always required prior to settlement, it weighs in favor of

8      Black v. DMNO, LLC, 2018 U.S. Dist. LEXIS 84739, at *7 (E.D. La. May 21, 2018) (citing
       Newberg On Class Actions § 13:50 (5th ed.))

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settlement because “full discovery demonstrates that the parties have litigated the case in an

adversarial manner and . . . therefore . . . settlement is not collusive but arms-length.” 9 As

recognized in Collins v. Sanderson Farms, “[t]he Court may presume that no fraud or

collusion occurred between counsel, in the absence of any evidence to the contrary.” 10

      As detailed above, the Parties have conducted formal discovery, independently

investigated the facts and law throughout this action, and examined hundreds of pages of

relevant company policies and wage and time records. Further, counsel for the Plaintiffs and

Defendants have analyzed the applicable law as applied to the facts discovered regarding the

claims at issue, the defenses thereto, and the alleged damages. Counsel for the Parties only

began settlement discussions after they possessed sufficient information to make an informed

judgment regarding the likelihood of success on the merits and the results that could be

obtained through further litigation, including both written discovery. Moreover, settlement

was only reached after lengthy negotiations during which both sides made significant

concessions from their original positions. This factor therefore weighs in favor of approval.

      C.     CONTINUED LITIGATION WOULD BE COSTLY, LONG, AND COMPLEX

      The settlement agreement is also fair and reasonable because substantial obstacles

exist if litigation continues, while the settlement provides immediate and certain relief. The

Parties disagree about the merits of the Plaintiff’s claims, the viability of the Defendants’

defenses, and the proper calculation of damages. Without settlement, the Parties would have

engaged in extensive additional discovery, including depositions of the Plaintiffs, as well as

Defendants’ managers and president.             Given that none of the opt-in Plaintiffs live

permanently in Louisiana, and that Defendants’ headquarters are based in Canada, these

depositions would have been extremely time consuming and expensive. The parties would
9     Id.
10    Collins, supra, 568 F. Supp. 2d at 725.
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likely have filed dispositive motions on the merits of the claims and on the question of

Defendant’s good faith.      The avoidance of “further costly litigation” weighs in favor of

approving settlement.11

       Counsel recognize the complexity and expense of trying an FLSA collective action,

along with the uncertainty inherent in any trial. They have taken into account the time

invested in this case and the uncertain outcome and risk of litigation. In negotiating the

settlement, counsel had the benefit of broad, independently verified information regarding the

Plaintiffs’ claims, and have determined the settlement is in the best interest of both parties.

Specifically, even if the Plaintiffs had prevailed on the merits, the Defendants would have

likely appealed the judgment or verdict to the United States Fifth Circuit Court of Appeals.

Under such a scenario, the Plaintiff and Opt-in Plaintiffs would not see any monetary relief

from this case, if any, until years from now. Through this settlement, however, the Plaintiff

and Opt-in Plaintiffs obtain immediate relief and benefit.12

       D.     THE SETTLEMENT IS REASONABLE

       After substantial discovery, motion practice, and investigation, all counsel agree that

the proposed settlement represents a fair and reasonable compromise over the disputed

issues that is in their clients’ best interests. During litigation and settlement negotiations, the

Plaintiffs and Defendants were vigorously represented by counsel experienced in FLSA

litigation. The Plaintiff entered into the proposed settlement agreement voluntarily and

represented that he knowingly and fully understood that he is relinquishing his claims in this

matter in exchange for the agreed upon settlement.

       Notably, the named Plaintiff and each Opt-In Plaintiff received 100% of the overtime

11     Smith v. Manhattan Mgmt. Co., 2016 U.S. Dist. LEXIS 30814, *4 (E.D. La. Mar. 10, 2016).

12     Obtaining “a certain and immediate recovery” weighs in favor of approving settlement. Hall v.
       Prosource Techs., LLC, 2016 U.S. Dist. LEXIS 53791, *23 (E.D.N.Y. Apr. 11, 2016).
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payments to which he would have been entitled as a matter of law. In addition, they each

received a 25% award of total maximum liquidated damages. Plaintiffs have thus been made

whole, and have been made more than whole. Moreover, because the attorney’s fee award

was issued separately, Plaintiffs were not required to pay a percentage of their individual

awards to their own attorneys. Given that Plaintiffs have received a greater than 100%

recovery through this settlement, this factor weighs heavily in favor of granting approval.

       Each Opt-in Plaintiff signed a consent form agreeing to be bound by any resolution of

this matter, including any settlement agreed to by the parties. Each has also signed an

individual settlement agreement and release, received his check, and negotiated that check.

No Plaintiff objected at any point during the process; to the contrary, they were quite pleased.

In short, the Parties agree that the terms of this settlement are reasonable, fair, and just, and

settle all claims in this lawsuit.

       E.      THE ATTORNEY’S FEES ARE REASONABLE

       The FLSA mandates payment of attorney’s fees and costs to prevailing plaintiffs. 13

Here, Plaintiffs’ counsel was successful in certifying the collective, over Defendants’

opposition, and obtaining relief for class members who otherwise would not have recovered or

even been aware of their entitlement to relief. The parties’ agreement provided for $9,408.75

in attorney’s fees and costs. This reflects a significant voluntary reduction from the actual

accrued attorney’s fees in this case. Counsel also incurred $535.50 in recoverable costs, which

are to be paid out of the same sum. Plaintiffs’ counsel has willingly accepted a reduction of

their earned fees in the interests of good faith compromise. And, as stated above, this was

negotiated and paid separately, meaning that there was no percentage reduction for the

Plaintiffs to pay the attorney’s fees and costs. Accordingly, the Parties submit the requested


13     29 U.S.C. § 216(b); Johnson v. Big Lots Stores, Inc., 639 F. Supp. 2d 696, 700 (E.D. La. 2009).
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award of attorney’s fees and costs is reasonable.

                                         CONCLUSION

       The Parties and their counsel agree that the settlement agreement is a reasonable

compromise of the claims alleged by the Plaintiffs in light of the procedural posture of the

case, the litigation risks, and the costs applicable to both sides. The Parties engaged in arm’s-

length settlement negotiations after discovery and months of litigation.           Because the

settlement agreement is a reasonable compromise of a bona fide dispute over unpaid overtime

and wages, the Plaintiffs and Defendants jointly request that the Court grant approval of the

settlement.




                                                        Respectfully Submitted,


                                                               /s Charles J. Stiegler
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